               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:09 CR 25-7


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
JORDEN MITCHELL JOHNSON.                     )
______________________________________       )


       THIS CAUSE coming on to be heard before the undersigned, pursuant to an

oral motion to withdraw and a written “Motion to Withdraw” (#95) filed by Rich

Cassady, attorney for the defendant. It appearing that attorney Fred Winthrop has

now been retained to represent the defendant and for that reason, good cause has been

shown for the granting of said motion.



                                     ORDER

       IT IS, THEREFORE, ORDERED that the “Motion to Withdraw” (#95) filed

by attorney Rich Cassady in this matter is hereby ALLOWED.

                                         Signed: May 19, 2009




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